23-10063-shl           Doc 57      Filed 02/06/23 Entered 02/06/23 15:12:22                      Main Document
                                                Pg 1 of 10



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                        Chapter 11

    Genesis Global Holdco, LLC, et al.,1                          Case No.: 23-10063 (SHL)

                                      Debtors.                    Jointly Administered



                                          AFFIDAVIT OF SERVICE

       I, Nataly Diaz, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

       On January 30, 2023, at my direction and under my supervision, employees of Kroll
caused the following documents to be served by the method set forth on the Master Service List
attached hereto as Exhibit A:

            Debtors’ Motion for Entry of an Order Directing Joint Administration of their Chapter 11
             Cases [Docket No. 2]

            Debtors’ Motion for an Order Extending Time to File Schedules of Assets and Liabilities,
             Schedules of Executory Contracts and Unexpired Leases, Statements of Financial Affairs,
             and Rule 2015.3 Financial Reports [Docket No. 3]

            Debtors' Motion Pursuant to Section 1505 of the Bankruptcy Code for Authorization of
             Genesis Asia Pacific Pte. Ltd. to Act as the Foreign Representative of the Debtors
             [Docket No. 4]

            Debtors’ Motion for Entry of Interim and Final Orders Authorizing the Payment of
             Certain Taxes and Fees [Docket No. 9]

            Debtors' Motion for Entry of an Order Implementing Certain Notice and Case
             Management Procedures [Docket No. 10]

            Debtors' Motion for Entry of Interim and Final Orders (I) Authorizing, But Not Directing,
             the Debtors to Pay Certain Prepetition Claims of Critical Vendors and Foreign Vendors,


1
      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification number
      (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis Asia
      Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors is 250
      Park Avenue South, 5th Floor, New York, NY 10003.
23-10063-shl    Doc 57     Filed 02/06/23 Entered 02/06/23 15:12:22           Main Document
                                        Pg 2 of 10



      (II) Authorizing and Directing Financial Institutions to Honor and Process Checks and
      Transfers Related to Such Claims and (III) Granting Related Relief [Docket No. 11]

     Debtors’ Application for Appointment of Kroll Restructuring Administration LLC as
      Claims and Noticing Agent [Docket No. 12]

     Debtors’ Motion for an Order Authorizing Debtors to Operate Their Businesses in the
      Ordinary Course and Ordering Implementation of the Automatic Stay [Docket No. 13]

     Debtors' Motion for Entry of Interim and Final Orders Waiving the Requirement that
      Each Debtor File a List of Creditors and Authorizing Preparation of a Consolidated List
      of Creditors, in Lieu of Submitting a Formatted Mailing Matrix, (II) Authorizing the
      Debtors to File a Consolidated List of the Debtors' Fifty Largest Unsecured Creditors,
      (III) Authorizing the Debtors to Redact Certain Personally Identifiable Information, and
      (IV) Granting Related Relief [Docket No. 14]

     Debtors' Motion For Entry of Interim and Final Order (I) Authorizing Debtors to
      Continue to Operate the Existing Cash Management System, Including Existing Bank
      Accounts, Honor Certain Prepetition Obligations Related Thereto, and Maintain Existing
      Business Forms; (II) Permitting Continued Intercompany Transactions and Granting
      Certain Administrative Claims; (III) Extending the Time to Comply with the
      Requirements of Section 345 of the Bankruptcy Code and (IV) Granting Related Relief
      [Docket No. 15] (the “Cash Management Motion”)

     Motion of Genesis Asia Pacific PTE. LTD. for Entry of Interim and Final Orders (I)
      Authorizing Genesis Asia Pacific PTE. LTD. to (A) Pay Certain Employee Wages and
      Other Compensation and Related Obligations and (B) Maintain and Continue Employee
      Benefits and Programs in the Ordinary Course, and (II) Authorizing and Directing
      Applicable Banks to Honor All Transfers Related to Such Obligations [Docket No. 16]

     Declaration of A. Derar Islim in Support of First Day Motions and Applications in
      Compliance with the Local Rule 1007-2 [Docket No. 17]

     Declaration of Paul Aronzon in Support of First Day Motions and Applications in
      Compliance with the Local Rule 1007-2 [Docket No. 19]

     Debtors’ Joint Chapter 11 Plan [Docket No. 20]

     Declaration of Michael Leto in Support of First Day Motions and Applications
      [Docket No. 28]

     Order Directing Joint Administration of Related Chapter 11 Cases [Docket No. 37]

     Order Authorizing Debtor Genesis Asia Pacific PTE LTD. to Act as Foreign
      Representative of the Debtors [Docket No. 38]


                                              2
23-10063-shl     Doc 57    Filed 02/06/23 Entered 02/06/23 15:12:22           Main Document
                                        Pg 3 of 10



      Order Authorizing Retention and Appointment of Kroll Restructuring Administration
       LLC as Claims and Noticing Agent [Docket No. 39]

      Order Restating and Enforcing the Existence and Implementation of the Worldwide
       Automatic Stay [Docket No. 40]

      Notice of Second Day Hearing [Docket No. 41]

      Order Extending Time to File Schedules of Assets and Liabilities, Schedules of
       Executory Contracts and Unexpired Leases, Statements of Financial Affairs, and Rule
       2015.3 Financial Reports [Docket No. 42]

      Interim Order Authorizing the Payment of Certain Taxes and Fees [Docket No. 43]

      Order Implementing Certain Notice and Case Management Procedures [Docket No. 44]

      Interim Order (I) Authorizing, But Not Directing, the Debtors to Pay Certain Prepetition
       Claims of Critical Vendors and Foreign Vendors, (II) Authorizing and Directing
       Financial Institutions to Honor and Process Checks and Transfers Related to Such Claims
       and (III) Granting Related Relief [Docket No. 45]

      Interim Order Waiving the Requirement that Each Debtor File a List of Creditors and
       Authorizing Preparation of a Consolidated List of Creditors, in Lieu of Submitting a
       Formatted Mailing Matrix, (II) Authorizing the Debtors to File a Consolidated List of the
       Debtors' Fifty Largest Unsecured Creditors, (III) Authorizing the Debtors to Redact
       Certain Personally Identifiable Information, and (IV) Granting Related Relief
       [Docket No. 46]

      Interim Order (I) Authorizing Debtors to Continue to Operate the Existing Cash
       Management System, Including Existing Bank Accounts, Honor Certain Prepetition
       Obligations Related Thereto, and Maintain Existing Business Forms; (II) Permitting
       Continued Intercompany Transactions and Granting Certain Administrative Claims; (III)
       Extending the Time to Comply with the Requirements of Section 345 of the Bankruptcy
       Code and (IV) Granting Related Relief [Docket No. 47] (the “Interim Cash
       Management Order”)

      Interim Order (I) Authorizing Genesis Asia Pacific PTE. LTD. to (A) Pay Certain
       Employee Wages and Other Compensation and Related Obligations and (B) Maintain
       and Continue Employee Benefits and Programs in the Ordinary Course, and (II)
       Authorizing and Directing Applicable Banks to Honor All Transfers Related to Such
       Obligations [Docket No. 49]

       On January 30, 2023, at my direction and under my supervision, employees of Kroll
caused the Cash Management Motion and the Interim Cash Management Order to be served by
the method set forth on the Banks Service List attached hereto as Exhibit B.


                                               3
23-10063-shl     Doc 57    Filed 02/06/23 Entered 02/06/23 15:12:22         Main Document
                                        Pg 4 of 10




Dated: February 2, 2023
                                                                /s/ Nataly Diaz
                                                                Nataly Diaz

State of New York
County of New York

Subscribed and sworn (or affirmed) to me on February 2, 2023, by Nataly Diaz, proved to me on
the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ OLEG BITMAN
Notary Public, State of New York
No. 01BI6339574
Qualified in Queens County
Commission Expires April 4, 2024




                                              4
                                                                                    SRF 66940
23-10063-shl   Doc 57   Filed 02/06/23 Entered 02/06/23 15:12:22   Main Document
                                     Pg 5 of 10




                                    Exhibit A
                                                      23-10063-shl              Doc 57              Filed 02/06/23 Entered 02/06/23 15:12:22                                                  Main Document
                                                                                                                 Pg 6 of 10
                                                                                                                                  Exhibit A
                                                                                                                               Master Service List
                                                                                                                            Served as set forth below

                              DESCRIPTION                                                     NAME                                                              ADDRESS                                                EMAIL                   METHOD OF SERVICE
Top 50 Creditor                                                   Altcoinomy SA                                                  Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
                                                                                                                                 Attn: Edward E. Neiger, Marianna Udem
                                                                                                                                 60 East 42nd Street, 46th Floor                                      eneiger@askllp.com
Counsel to Donut, Inc.                                            ASK LLP                                                        New York NY 10165                                                    mudem@askllp.com                        Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Bayhawk Fund LLC                                               Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Big Time Studios Ltd.                                          Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Caramila Capital Management LLC                                Address on File                                                      Email on File                           Email
                                                                                                                                 Genesis Chambers Copy
                                                                                                                                 US Bankruptcy Court SDNY
United States Bankruptcy Court for the Southern District of New                                                                  300 Quarropas Street, Room 147
York                                                              Chambers of Honorable Sean H. Lane                             White Plains NY 10601                                                                                        First Class Mail
Top 50 Creditor                                                   Claure Group LLC                                               Address on File                                                      Email on File                           Email
                                                                                                                                                                                                      soneal@cgsh.com
                                                                                                                                                                                                      jvanlare@cgsh.com
                                                                                                                                 Attn: Sean O‘Neal, Jane VanLare, Hoo Ri Kim, Michael Weinberg,       hokim@cgsh.com
                                                                                                                                 Richard C. Minott , Christian Ribeiro                                mdweinberg@cgsh.com
                                                                                                                                 One Liberty Plaza                                                    rminott@cgsh.com
Proposed Counsel to the Debtors                                   Cleary Gottlieb Steen & Hamilton LLP                           New York NY 10006                                                    cribeiro@cgsh.com                       Email
Top 50 Creditor                                                   Coincident Capital International, Ltd.                         Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Coinhouse                                                      Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Cumberland DRW LLC                                             Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Digital Finance Group                                          Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Donut, Inc.                                                    Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Heliva International Corp                                      Address on File                                                      Email on File                           Email
                                                                                                                                 Attn: Anson B. Frelinghuysen, Dustin P. Smith, Jeffrey S. Margolin   anson.frelinghuysen@hugheshubbard.com
                                                                                                                                 One Battery Park Plaza                                               dustin.smith@hugheshubbard.com
Counsel to Gemini Trust Company, LLC                              Hughes Hubbard & Reed LLP                                      New York NY 10004                                                    jeff.margolin@hugheshubbard.com         Email
                                                                                                                                 Centralized Insolvency Operation
                                                                                                                                 2970 Market Street
                                                                                                                                 Mail Stop 5 Q30 133
Irs Insolvency Section                                            Internal Revenue Service                                       Philadelphia PA 19104‐5016                                           mimi.m.wong@irscounsel.treas.gov        Email
                                                                                                                                 Centralized Insolvency Operation
                                                                                                                                 P.O. Box 7346
Irs Insolvency Section                                            Internal Revenue Service                                       Philadelphia PA 19101‐7346                                           mimi.m.wong@irscounsel.treas.gov        Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
                                                                                                                                 Attn: Joshua A. Sussberg, Christopher Marcus, Ross J. Fiedler        joshua.sussberg@kirkland.com
                                                                                                                                 601 Lexington Avenue                                                 christopher.marcus@kirkland.com
Counsel to Ad Hoc Group of Creditors                              Kirkland & Ellis LLP Kirkland & Ellis International LLP        New York NY 10022                                                    ross.fiedler@kirkland.com               Email
Top 50 Creditor                                                   Levity & Love, LLC                                             Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Mirana Corp.                                                   Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Moonalpha Financial Services Limited                           Address on File                                                      Email on File                           Email
Top 50 Creditor                                                   Name on File                                                   Address on File                                                      Email on File                           Email




          In re: Genesis Global Holdco, LLC, et al.
          Case No. 22‐10063 (SHL)                                                                                                  Page 1 of 3
                                                      23-10063-shl                 Doc 57         Filed 02/06/23 Entered 02/06/23 15:12:22                                                   Main Document
                                                                                                               Pg 7 of 10
                                                                                                                                  Exhibit A
                                                                                                                               Master Service List
                                                                                                                            Served as set forth below

                              DESCRIPTION                                                     NAME                                                               ADDRESS                                            EMAIL                  METHOD OF SERVICE
                                                                                                                                 Attn: Eric Daucher, Victoria V. Corder, Francisco Vazquez       eric.daucher@nortonrosefulbright.com
                                                                                                                                 1301 Avenue of the Americas                                     victoria.corder@nortonrosefulbright.com
Counsel to Mirana Corp.                                            Norton Rose Fulbright US LLP                                  New York NY 10019‐6022                                          victoria.corder@nortonrosefulbright.com   Email
                                                                                                                                 Attn: Greg Zipes                                                ustpregion02.nyecf@usdoj.gov
                                                                                                                                 Alexander Hamilton Custom House                                 paul.schwartzberg@usdoj.gov
                                                                                                                                 One Bowling Green, Suite 515                                    andy.velez‐rivera@usdoj.gov
Office of The United States Trustee – NY Office                    Office of the US Trustee                                      New York NY 10014                                               tara.tiantian@usdoj.gov                   Email
Top 50 Creditor                                                    Name on File                                                  Address on File                                                 Email on File                             Email
Top 50 Creditor                                                    Name on File                                                  Address on File                                                 Email on File                             Email
Top 50 Creditor                                                    Plutus Lending LLC                                            Address on File                                                 Email on File                             Email
                                                                                                                                 Attn: Christopher A. Ward
                                                                                                                                 222 Delaware Avenue, Suite 1101
Counsel to Caramila Capital Management LLC                         Polsinelli PC                                                 Wilmington DE 19801                                             cward@polsinelli.com                      Email
                                                                                                                                 Attn: Jeremy R. Johnson
                                                                                                                                 600 Third Avenue, 42nd Floor
Counsel to Caramila Capital Management LLC                         Polsinelli PC                                                 New York NY 10016                                               jeremy.johnson@polsinelli.com             Email
                                                                                                                                 Attn: Brian S. Rosen, Vincent Indelicato, Megan R. Volin        brosen@proskauer.com
                                                                                                                                 Eleven Times Square                                             vindelicato@proskauer.com
Counsel to Ad Hoc Group of Genesis Lenders                         Proskauer Rose LLP                                            New York NY 10036                                               mvolin@proskauer.com                      Email
                                                                                                                                 Attn: Jordan E. Sazant
                                                                                                                                 70 West Madison, Suite 3800
Counsel to Ad Hoc Group of Genesis Lenders                         Proskauer Rose LLP                                            Chicago IL 60602                                                jsazant@proskauer.com                     Email
Top 50 Creditor                                                    Name on File                                                  Address on File                                                 Email on File                             Email
Top 50 Creditor                                                    Ripio International                                           Address on File                                                 Email on File                             Email
Top 50 Creditor                                                    Name on File                                                  Address on File                                                 Email on File                             Email
Top 50 Creditor                                                    Name on File                                                  Address on File                                                 Email on File                             Email
Top 50 Creditor                                                    Schnutz Investments LP                                        Address on File                                                 Email on File                             Email
                                                                                                                                 Attn: Secretary Of The Treasury
                                                                                                                                 100 F Street, NE                                                secbankruptcy@sec.gov
Securities And Exchange Commission ‐ Headquarters                  Securities & Exchange Commission                              Washington DC 20549                                             nyrobankruptcy@sec.gov                    Email
                                                                                                                                 Attn: Bankruptcy Department
                                                                                                                                 Brookfield Place
                                                                                                                                 200 Vesey Street, Suite 400
Securities And Exchange Commission ‐ Regional office               Securities & Exchange Commission ‐ NY Office                  New York NY 10281‐1022                                          bankruptcynoticeschr@sec.gov              Email
                                                                                                                                 Attn: Bankruptcy Department
                                                                                                                                 One Penn Center
                                                                                                                                 1617 JFK Blvd, Ste 520
Securities And Exchange Commission ‐ Regional office               Securities & Exchange Commission ‐ Philadelphia Office        Philadelphia PA 19103                                           secbankruptcy@sec.gov                     Email
Top 50 Creditor                                                    Stellar Development Foundation                                Address on File                                                 Email on File                             Email
Top 50 Creditor                                                    Streami Inc.                                                  Address on File                                                 Email on File                             Email
Top 50 Creditor                                                    Name on File                                                  Address on File                                                 Email on File                             Email
Top 50 Creditor                                                    The Badger Technology Company Holdings, Limited               Address on File                                                 Email on File                             Email
                                                                                                                                                                                                 david.jones6@usdoj.gov
                                                                                                                                                                                                 jeffrey.oestericher@usdoj.gov
                                                                                                                                 Attn: Bankruptcy Division                                       carina.schoenberger@usdoj.gov
                                                                                                                                 86 Chambers Street                                              lawrence.fogelman@usdoj.gov
United States Attorney’s Office for the Southern District of New                                                                 3rd Floor                                                       peter.aronoff@usdoj.gov
York                                                               U.S. Attorney for Southern District Of New York               New York NY 10007                                               linda.riffkin@usdoj.gov                   Email
Top 50 Creditor                                                    Valour, Inc.                                                  Address on File                                                 Email on File                             Email
Top 50 Creditor                                                    VanEck New Finance Income Fund, LP                            Address on File                                                 Email on File                             Email
                                                                   Various Lenders as defined in certain Master Digital Asset
                                                                   Loan Agreements entered into with Gemini Trust Company,
Top 50 Creditor                                                    LLC, as agent for the Lenders                              Address on File                                                    Email on File                             Email
Top 50 Creditor                                                    Name on File                                               Address on File                                                    Email on File                             Email




          In re: Genesis Global Holdco, LLC, et al.
          Case No. 22‐10063 (SHL)                                                                                                  Page 2 of 3
                                                      23-10063-shl           Doc 57        Filed 02/06/23 Entered 02/06/23 15:12:22                                       Main Document
                                                                                                        Pg 8 of 10
                                                                                                            Exhibit A
                                                                                                         Master Service List
                                                                                                      Served as set forth below

                              DESCRIPTION                                             NAME                                                 ADDRESS                                                   EMAIL      METHOD OF SERVICE
Top 50 Creditor                                               Name on File                                 Address on File                                                       Email on File                 Email
Top 50 Creditor                                               Name on File                                 Address on File                                                       Email on File                 Email
                                                                                                           Attn: Jeffrey D. Saferstein, Ronit Berkovich, Jessica Liou, Furqaan   jeffrey.saferstein@weil.com
                                                                                                           Siddiqui                                                              ronit.berkovich@weil.com
                                                                                                           767 Fifth Avenue                                                      jessica.liou@weil.com
Counsel to Digital Currency Group, Inc.                       Weil, Gotshal & Manges LLP                   New York NY 10153                                                     furqaan.siddiqui@weil.com     Email
Top 50 Creditor                                               Name on File                                 Address on File                                                       Email on File                 Email
Top 50 Creditor                                               Winah Securities S.A.                        Address on File                                                       Email on File                 Email
Top 50 Creditor                                               Name on File                                 Address on File                                                       Email on File                 Email




          In re: Genesis Global Holdco, LLC, et al.
          Case No. 22‐10063 (SHL)                                                                            Page 3 of 3
23-10063-shl   Doc 57   Filed 02/06/23 Entered 02/06/23 15:12:22   Main Document
                                     Pg 9 of 10



                                    Exhibit B
                                                      23-10063-shl         Doc 57           Filed 02/06/23 Entered 02/06/23 15:12:22                                     Main Document
                                                                                                         Pg 10 of 10
                                                                                                                      Exhibit B
                                                                                                                   Banks Service List
                                                                                                               Served as set forth below


  PCID                    NAME                                         ADDRESS1                    ADDRESS2                 ADDRESS3                CITY       STATE      ZIP    COUNTRY               EMAIL                 METHOD OF SERVICE
PC_0136   BANKING CIRCLE                                ATTN PRESIDENT OR GENERAL COUNSEL   AMERIKA PLADS 38          KOBENHAVN                                          02100   DK                                      First Class Mail
PC_1441   CONTINENTAL STOCK TRANSFER & TRUST            1 STATE STREET                      30TH FLOOR                                         NEW YORK        NY        10004                                           First Class Mail
PC_0568   INDUSTRIAL & COMMERCIAL BANK CHINA            ATTN PRESIDENT OR GENERAL COUNSEL   6 RAFFLES QUAY            23 01                                            S048580   SG                                      First Class Mail
PC_1443   INTERACTIVE BROKERS                           ONE PICKWICK PLAZA                                                                     GREENWICH       CT        06830                                           First Class Mail
PC_0669   JPMORGAN CHASE BANK NA                        ATTN JULIETTE LAM                   575 WASHINGTON BLVD                                JERSEY CITY     NJ        07310             juliette.k.lam@jpmorgan.com   First Class Mail and Email
PC_0670   JPMORGAN CHASE BANK NA SINGAPORE              ATTN JULIETTE LAM                   88 MARKET STREET          CAPITASPRING 30 00                                 48948   SG        juliette.k.lam@jpmorgan.com   First Class Mail and Email
PC_1444   KRAKEN CUSTODIAL                              ATTN PRESIDENT OR GENERAL COUNSEL   PAYWARD VENTURES INC      237 KEARNEY STREET 102   SAN FRANCISCO   CA        94108                                           First Class Mail
PC_1445   MAREX CAPTIAL MARKETS INC                     ATTN PRESIDENT OR GENERAL COUNSEL   425 S FINANCIAL PLACE     SUITE 1850               CHICAGO         IL        60605                                           First Class Mail
PC_0841   METROPOLITAN COMMERCIAL BANK                  ATTN CHRIS JONES                    99 PARK AVE               13TH FLOOR               NEW YORK        NY        10016             cjones@mcbankny.com           First Class Mail and Email
PC_0842   METROPOLITAN COMMERCIAL BANK                  ATTN BRAYAN LOPEZ SALAZAR           99 PARK AVE               13TH FLOOR               NEW YORK        NY        10016             blopezsalazar@mcbankny.com    First Class Mail and Email
PC_1145   SIGNATURE BANK                                ATTN SARMEN SARYAN                  1400 BROADWAY             26TH FLOOR               NEW YORK        NY        10018             ssaryan@signatureny.com       First Class Mail and Email
PC_1146   SIGNATURE BANK                                ATTN NICOLE SANTIAGO                1400 BROADWAY             26TH FLOOR               NEW YORK        NY        10018             nsantiago@signatureny.com     First Class Mail and Email
PC_1151   SILVERGATE BANK                               ATTN ZINE MAJID                     4250 EXEUCTIVE SQUARE     SUITE 100                LA JOLLA        CA        92037             zmajid@silvergate.com         First Class Mail and Email
PC_1152   SILVERGATE BANK                               ATTN JAMES LECLAIR                  4250 EXEUCTIVE SQUARE     SUITE 100                LA JOLLA        CA        92037             jleclair@silvergate.com       First Class Mail and Email
PC_1267   TRADESTATION CRYPTO INC                       8050 SW 10TH STREET                 SUITE 4000                                         PLANTATION      FL        33324                                           First Class Mail




          In re: Genesis Global Holdco, LLC, et al.
          Case No. 22‐10063 (SHL)                                                                                     Page 1 of 1
